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                    EXHIBIT A




                                                                     Exhibit A
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From:                              Moroski, Rachel J.
Sent:                              Tuesday, March 08, 2016 2:13 PM
To:                                seth@tillmonlaw.com
Cc:                                Westheimer, Michael N.
Subject:                           Romero v. GE Betz, Inc. [ODNSS-OGL.034695.000007]
Attachments:                       Solutions Procedure rev 2015.pdf


Dear Mr. Tillmon,

We represent GE Betz, Inc. in the lawsuit filed by your client, Robert Romero. As you may know, Mr. Romero’s
employment was subject to the Company’s Solutions Alternative Dispute Resolution Procedure which requires, among
other things, that this dispute be resolved by binding arbitration in lieu of proceeding in court. Accordingly, arbitration
is the proper forum for Mr. Romero’s claims. I have attached the arbitration agreement for your review.

Please let us know if your client will stipulate to dismiss his court action and resolve his claims through the Solutions
policy’s arbitration procedures. Otherwise we are contemplating having to file a motion to compel arbitration. Pursuant
to the Court’s Local Rule 7-3, we are contacting you to discuss the substance of the contemplated motion and any
potential resolution. Please let us know when you are available for a phone call to discuss this further.

Best regards,

Rachel Moroski

Rachel J. Moroski | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
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rachel.moroski@ogletreedeakins.com | www.ogletreedeakins.com | Bio




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